                Case 1:19-cr-00366-LGS Document 131 Filed 11/13/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
                                                                         :
 UNITED STATES OF AMERICA,                                               :
                                                                         :   Case No. 19 Cr. 366 (LGS)
            - against -                                                  :
                                                                         :   NOTICE OF MOTION
 STEPHEN M. CALK,                                                        :
                                                                         :
                                Defendant.                               :
                                                                         :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x


                    PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law and

all prior papers and proceedings in this action, the defendant Stephen M. Calk, by his

undersigned attorneys, will move this Court before the Honorable Lorna G. Schofield, United

States District Judge, at the United States Courthouse for the Southern District of New York, at a

date and time to be determined by the Court, for an order transferring this case to the Northern

District of Illinois, and for any other relief as the Court may deem just and proper.

                    Defendant respectfully requests oral argument in connection with this motion.


Dated: New York, New York                                    Respectfully submitted,
       November 13, 2020

                                                             KRAMER LEVIN NAFTALIS & FRANKEL LLP

                                                             By: /s/ Paul H. Schoeman
                                                                 Paul H. Schoeman
                                                                 Darren A. LaVerne
                                                                 1177 Avenue of the Americas
                                                                 New York, NY 10036
                                                                 Telephone: 212.715.9100




KL3 3317815.1
                Case 1:19-cr-00366-LGS Document 131 Filed 11/13/20 Page 2 of 2




                                            LOEB & LOEB LLP

                                                  Jeremy Margolis
                                                  Joseph J. Duffy
                                                  321 N. Clark Street
                                                  Chicago, IL 60654
                                                  Telephone: 312.464.3100

                                            Attorneys for Defendant Stephen M. Calk




                                              2
KL3 3317815.1
